                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA,
                                                        DOCKET NO. 3:21CR130

            V.                                    ORDER TO DISMISS COUNT ONE

MATTHEW MUMMET


   Leave of Court is hereby granted for the dismissal without prejudice of Count One of the

Superseding Bill of Indictment in the above-captioned case.

   The Clerk is directed to certify copies of this Order to the U. S. Probation Office, U. S.

Marshals Service and the United States Attorney’s Office.

                                       Signed: October 30, 2021




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